In this case, the State chose to proceed under Section 1936 of the 1927 Code, rather than Section 1945-a1, or some other applicable provision of the same Code.
A review of Sections 1934 to 1943 thereof, both inclusive, reveals the fact that the offense here charged necessitates: First, a consignor and consignee; second, the transportation; and third, the lack of proper marks or labels. State v. Edwards,205 Iowa 587, and State v. Drain, 205 Iowa 581.
However, the record before us discloses no proof that there was a consignor or consignee for the intoxicating liquors in controversy, as contemplated by said legislative enactments; nor is there any showing that there was a "transportation," within the purview of that law. Consequently, the State did not establish its case. No benefit will result from a restatement of the discussion contained in the Edwards and Drain cases.
Because of the holdings under those authorities, the judgment of the trial court must be, and is, reversed. — Reversed.
STEVENS, C.J., and EVANS, FAVILLE, De GRAFF, ALBERT, MORLING, and WAGNER, JJ., concur.